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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

DAVITA M. KEY,                                      )
                                                    )
                            Plaintiff,              )
                                                    )       CIVIL ACTION NUMBER:
                      v.                            )        2:19-cv-00767-ECM-SMD
                                                    )
HYUNDAI MOTOR MANUFACTURING                         )
ALABAMA, LLC, HYUNDAI                               )
ENGINEERING AMERICA, INC. and                       )
DYNAMIC SECURITY, INC.                              )
                                                    )
                           Defendants.              )

     BRIEF IN SUPPORT OF DEFENDANT HMMA’S MOTION FOR SUMMARY
                              JUDGMENT

       Plaintiff was employed by Dynamic Security, Inc. (“DSI”), which provided security

personnel to Hyundai ENG America, Inc. (“HEA”). HEA provided construction, maintenance,

janitorial, and security services to corporate customers, including Hyundai Motor Manufacturing

Alabama, LLC (“HMMA”). DSI assigned Plaintiff to its contract with HEA, which was to be

performed at HMMA’s facility. When Plaintiff refused to modify her hairstyle to meet HEA’s

standards, an HEA employee requested Plaintiff’s assignment be ended, and DSI complied.

During her assignment, Plaintiff never interacted with any HMMA employees beyond the

individual who photographed her for a badge to access the property. Plaintiff has sued DSI,

HEA, and HMMA, alleging the termination of her assignment was discriminatory on account of

her race or pregnancy, or retaliatory. HMMA moves this Court to grant it summary judgment on

any or all of the following grounds: (i) HMMA was not Plaintiff’s employer, (ii) HMMA did not

require any policy against dreadlocks be implemented at all and certainly did not require that it

be implemented maliciously, (iii) HMMA had no knowledge of Plaintiff’s complaint or any

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                             STATEMENT OF UNDISPUTED FACTS1

I.        ABOUT THE PARTIES

          A.      About HMMA

          1.      In 2017, HMMA operated an automobile manufacturing facility in Montgomery,

Alabama, that produced the Hyundai Sonata, Elantra, and Santa Fe automobiles. HMMA’s

facility included a Stamping Shop, a Welding Shop, a Paint Shop, a General Assembly Shop,

three Engine Shops, and a two-mile test track. (Burns Dec., Exh. 1, ¶2).

          2.      HMMA currently employs approximately 3,000 Team Members.2 (Burns Dep.,

Exh. 2, 174:8-11). HMMA has robust non-discrimination, non-harassment, and non-retaliation

policies, and it is committed to not discriminating against employees due to protected statuses,

including race and pregnancy, and not retaliating against employees who engaged in protected

conduct. (Burns Dep., Exh. 2, 190:19-192:12, 195:10-23, exh. 7).

          3.      Some services at HMMA’s campus are provided by contractors, including

security (which includes mailroom), electrical, plumbing, and construction contractors. (Burns

Dep., Exh. 2, 173:4-10, 175:5-10).

          4.      Contractors and their employees are not HMMA Team Members. (Burns Dep.,

Exh. 2, 182:15-21).

          5.      HMMA expects its contractors to adhere to federal law, including principles of

non-discrimination and non-retaliation with respect to their employees. (Burns Dep., Exh. 2,

87:5-11, exh. 2, §10.1 (HMMA000021)).



1
  For purposes of summary judgment, Defendant states facts in the light most favorable to Plaintiff. Rodgers v.
Horsley, 39 F.3d 308, 309 (11th Cir. 1994) (“As a result, the ‘facts’ for purposes of reviewing rulings on summary
judgment motions may not, in reality, be the facts.”).

2
    HMMA refers to its employees as Team Members.


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        B.       About Dynamic Security, Inc. (DSI), and its employees.

        6.       DSI operates in seven states and has about 1,300 employees. (Riddle Dep., Exh.

3, 13:9-21).

        7.       DSI’s business is providing security officers at the facilities of other businesses.

(Id., 14:1-7).

        8.       HMMA has never had direct business dealings with DSI. (Burns Dep., Exh. 2,

155:5-11).

        9.       DSI has no contract or proposal with HMMA to provide security services; its

contract is with HEA and it invoices HEA. (Riddle Dep., Exh. 3, 193:19-197:14, exh. 2; Spiers

Dep., Exh. 4, 75:17-21).

        10.      DSI employed Gloria Robinson as its on the ground manager at the HMMA

facility servicing the HEA contract. (Riddle Dep., Exh. 3, 78:3-8).

        11.      Ms. Robinson is Black. (Robinson Dec., Exh. 5, ¶14).

        12.      HMMA never employed Ms. Robinson. (Burns Dep., Exh. 2, 280:21-281:11).

        C.       About Hyundai3 ENG America, Inc. (HEA), its employees, and its relationship to
                 HMMA.

        13.      HEA is a contractor used by HMMA to provide various services. (Burns Dep.,

Exh. 2, 16:10-15).

        14.      HEA provides construction, security, janitorial, landscaping, and perhaps other

services to multiple customers, including HMMA and Kia. (Williams Dep., Exh. 6, 14:6-15:4).




3
  Hyundai means modern in Korean. (Burns Dep., Exh. 2, 168:6-10). The word Hyundai is used in approximately 77
current and prior business names registered with the Alabama Secretary of State. (Exh. 11, Sec. of State records,
word search “Hyundai”) (accessed Oct. 7, 2022).

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       15.       HEA was previously known as Hyundai AMCO America, Inc. (Exh. 7, HEA’s

response to Plaintiff’s Requests for Admission, RFA #2 (Doc. 726897); Exh. 8, Sec. of State

Records for Hyundai ENG America, Inc., p. 3).

       16.       HEA is headquartered in California. (Exh. 9, Sec. of State Records for HEA).

       17.       HMMA is headquartered in Montgomery, Alabama. (Exh. 10, Sec. of State

Records for Hyundai Motor Manufacturing Alabama, LLC).

       18.       There is no common ownership between HMMA and HEA. (Burns Dep., Exh. 2,

16:23-17:5, 154:13-16).

       19.       There are no common policies between HMMA and HEA. (Burns Dep., Exh. 2,

154:17-20).

       20.       There are no shared bank accounts between HMMA and HEA. (Burns Dep., Exh.

2, 154:21-22).

       21.       Since August 2010, HEA has employed Cassandra Williams as a manager in the

Facilities Management Department. (Williams Dep., Exh. 6, 40:3-8).

       22.       Ms. Williams also manages contracts for security services between HEA and

Glovis Alabama and Glovis America. (Williams Dec., Exh. 13, ¶2).

       23.       Ms. Williams is Black. (Pltf. Dep., Exh. 12, 37:16-17).

       24.       Prior to working for HEA, Ms. Williams worked for two other agencies that

provided security services at HMMA, Don Terry Associates and American Citadel Guard

Security. (Williams Dep., Exh. 6, 41:5-42:16).

       25.       Ms. Williams reports to HEA Project Manager, Ki Sung Kim. (Williams Dep.,

Exh. 6, 16:21-17:12).



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         26.   Mr. Kim is supervised by other HEA employees; at times relevant to this action,

his direct supervisor was Mr. Kwak. (Williams Dep., Exh. 6, 148:8-23).

         27.   HEA provides Ms. Williams with a company cell phone. (Williams Dep., Exh. 6,

25:21-26:5).

         28.   HMMA provided a desk phone line to Ms. Williams. (Id., 26:6-8).

         29.   Hyundai Autoever America, Inc. (HAEA) provides IT services for HMMA and it

issued an hmmausa.com email address to Ms. Williams prior to her working for HEA, which she

kept after she began working for HEA. (Id., 105:17-106:22).

         30.   Ms. Williams designed her email signature independently, and it reflected her role

as an HEA Manager and assignment to HMMA, with “Manager of Security Services/Hyundai

Engineering America, Inc.” appearing immediately below her name, and “Hyundai Motor

Manufacturing Alabama, LLC” appearing in smaller font beneath that. (Id., 108:15-110:18, exh.

41).

         31.   HMMA never employed Ms. Williams. (Burns Dep., Exh. 2, 280:5-13; Riddle

Dep., Exh. 3, 185:7-21, 186:21-187:1; Spiers Dep., Exh. 4, 76:12-17; Williams Dep. Exh.6,

146:8-10, DX-1).

         32.   HEA was DSI’s client, not HMMA. DSI invoiced HEA exclusively. (Riddle Dep.,

Exh. 3, 193:16-194:23).

         D.    About Plaintiff

         33.   Plaintiff is a Black woman. (Amended Complaint, Doc. 28, ¶2).

         34.   Plaintiff chose to style her hair in dreadlocks beginning when she was about 18

years old. (Pltf. Dep., Exh. 12, 243:7-9).



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         35.   Plaintiff has a Bachelor’s Degree in Humanities and Social Sciences from Auburn

University and a Master’s Degree from Troy University in Social Sciences, both obtained before

working at DSI. (Id., 85:11-86:8).

         36.   Plaintiff was pregnant at all times relevant to this action. (Id., 115:1-9, 277:21-

25).

II.      About Plaintiff’s Employment with DSI

         A.    Plaintiff’s employment relationship with DSI generally.

         37.   Plaintiff initiated an application to obtain a mailroom job with DSI through

Indeed, knowing she was applying to work for DSI. (Pltf. Dep., Exh. 12, 19:10-24). She never

applied for employment with HMMA. (Id., 23:16-26:7, exh. 2).

         38.   Gloria Robinson, a DSI employee, assigned Plaintiff to the mail room. (Id., 40:18-

41:6).

         39.   DSI provided Plaintiff with information about the pay and benefits that it would

provide her. (Id., 21:24-22:7).

         40.   Plaintiff’s immediate supervisor was Maurice Chambliss, a DSI employee who is

Black. (Id., 18:23-24, 31:10-13, 37:14-15).

         41.   Plaintiff always reported to Gloria Robinson, another DSI employee. (Id., 31:20-

23, 41:4-6).

         42.   When Plaintiff wanted Human Resources support, she went to Ray Cureton, a

DSI employee, at DSI’s offices. (Id., 32:25-33:15).

         43.   Plaintiff was paid exclusively by DSI and was not paid by any other entity for her

assignment relevant to this Complaint. (Id., 27:12-21, 28:1-4, exh. 3).




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       44.       When Plaintiff filed for unemployment, she identified DSI as her employer. (Id.,

44:10-12).

       45.       HMMA did not employ Plaintiff. (Burns Dep., Exh. 2, 279:20-21).

       B.        Specific Events During Plaintiff’s Employment with DSI

       46.       Plaintiff went to work for DSI at HMMA’s plant on two days: July 31 and August

1, 2017. (Pltf. Dep., Exh. 12, 17:21-18:1).

       47.       As part of the application process, Plaintiff was interviewed by Ms. Robinson and

Mr. Chambliss, DSI employees, on July 19. (Id., 18:15-24).

       48.       Ms. Williams was consulted at that time, in Plaintiff’s presence, about Plaintiff’s

hair, which was styled in dreadlocks. (Id., 127:1-25). Plaintiff showed Ms. Robinson an up-do

hairstyle and they agreed she would wear her hair like that. (Id., 128:19-25).

       49.       Plaintiff attended an orientation session at DSI’s Montgomery office prior to

beginning her assignment at HMMA. (Id., 135:2-20).

       50.       When Plaintiff reported to work the first day, she did not wear her hair in that up-

do style because she had consulted with DSI’s office manager at that orientation, who told her

that her hair was not in an issue and in compliance with DSI’s grooming policy. (Id., 129:1-11).

Plaintiff also believed her hair complied with DSI’s handbook. (Id., 129:12-16).

       51.       On July 31, Plaintiff told Ms. Robinson and Mr. Chambliss that she was pregnant

and showed her a doctor’s note that she did not have any restrictions. (Id., 115:18-25, 116:8-12,

117:14-20).

       52.       After Plaintiff told them about her pregnancy, Ms. Robinson went to her office,

and then Ms. Williams confronted Plaintiff about her hair. (Id., 116:15-117:5, 140:16-141:8,

141:25-143:4).

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        53.      Following this confrontation, LaTunya4 Howell, a DSI employee who is Black,

trained Plaintiff. (Id., 23:10-13, 35:24-25, 138:13-139:18, 141:9-12).

        54.      After about an hour, Mr. Chambliss picked up Plaintiff to meet with Ms.

Robinson. (Id., 144:4-145:2).

        55.      Plaintiff met with Ms. Robinson and Ms. Williams, who told her hair was not

acceptable. Plaintiff asked to see the policy, and Ms. Williams initially refused, then showed her

an HEA policy on her computer. (Id., 145:3-146:4, exh. 8 (51:6-13)).

        56.      Ms. Robinson told Plaintiff to go home for the day, and they agreed she could

wear a hat the next day. (Id., 118:13-21, 147:20-148:6, 150:5-151:1).

        57.      After Plaintiff went home, Ms. Robinson called Plaintiff to find out when her due

date was and if her doctor was aware of her job requirements. (Id., 119:20-120:2).

        58.      On August 1, Plaintiff returned to work and waited for her trainer, Ms. Howell,

and Plaintiff told Ms. Howell she thought she was being treated unfairly because of her hair. (Id.,

151:25-154:6).

        59.      After that, also on August 1, Ms. Robinson aggressively asked her if she was

going to continue to act this way until—and then pointed to her stomach, asked her if she felt

discriminated against, and stated that “this” was going to be a problem, though Plaintiff does not

know what Ms. Robinson was referring to, said that Koreans were a different breed of animals

that sent memos that they did not want Black employees wearing hair like hers. (Id., 119:13-17,

120:13-122:3, 158:21-160:20).




4
  Ms. Howell is occasionally referred to as LaTunya, Tonya, LaTonya, and Tunya in various documents and
depositions. HMMA believes, based on documents produced by DSI as Ms. Howell’s personnel file, that LaTunya is
the correct spelling and so uses that.
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       60.     Plaintiff does not know what Koreans Ms. Robinson was referring to. (Pltf. Dep.,

Exh. 12, 63:24-65:1, 78:9-79:7).

       61.     No evidence of such an alleged memo has been produced, and neither Ms.

Robinson, Ms. Williams, nor HMMA is aware of such a memo. (Robinson Dec., Exh. 5, ¶¶11-

12; Williams Dec., Exh. 13, ¶5; Burns Dec., Exh. 1, ¶10).

       62.     Plaintiff has never seen such a memo. (Pltf. Dep., Exh. 12, 67:8-10).

       63.     Ms. Robinson dismissed Plaintiff and Mr. Chambliss took her back to the mail

room for more training. (Id., 162:4-12).

       64.     Mr. Chambliss later returned to the mailroom and Plaintiff told him she wanted to

speak to someone in human resources. (Id., 164:17-23).

       65.     Ms. Robinson then told Mr. Chambliss to have Plaintiff speak with Ray Cureton,

the Montgomery DSI branch manager, who is white. (Id., 35:22-23, 165:10-20; Riddle Dep.,

Exh. 3, 78:10-13).

       66.     Plaintiff left the job site to go to DSI’s office in Montgomery. (Pltf. Dep., Exh.

12, 166:14-17, 167:8-13).

       67.     The first thing Mr. Cureton asked Plaintiff was if she was going to sue DSI. (Id.

168:11-14). Plaintiff responded she just wanted to talk to someone in HR. (Id., 168:15-18).

       68.     Plaintiff told Mr. Cureton everything that had happened on July 31 and August 1.

(Id., 168:18-24).

       69.     At the end of the meeting, Mr. Cureton asked for her badge, saying that they or

Ms. Robinson did not want her there because of her hair “and something else.” (Id., 41:24-42:18,

174:11-22, 226:16-227:3). Mr. Cureton may have also relayed Ms. Williams did not want

Plaintiff on site. (Id., 125:13-126:6, 227:4-6).

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         70.   To Plaintiff’s knowledge, the only individuals working at HMMA’s site who were

aware of her pregnancy were Ms. Howell, Ms. Robinson, Mr. Chambliss, and Ms. Williams. She

is not aware of any HMMA employee who knew she was pregnant. (Id., 29:8-17, 48:16-23).

         71.   DSI states it removed Plaintiff from her assignment to HEA based on the request

of Ms. Williams. (Riddle Dep., Exh. 3, 192:3-193:5; Spiers Dep., Exh. 4, 79:8-13).

         72.   No one from HMMA requested Ms. Williams ask that Plaintiff be removed.

(Williams Dep., Exh. 6, 146:11-13).

III.     About Various Grooming Policies and Practices

         A.    HMMA had no general prohibition on dreadlocks and had no appearance standard
               at all which applied to Plaintiff.

         73.   HMMA did not maintain any appearance or grooming policies other than a PPE

safety matrix, which did not apply to the area where Plaintiff was assigned. (Burns Dep., Exh. 2,

149:19-22, 237:21-23, 238:15-17, 239:17-20).

         74.   HMMA’s matrix does not prohibit dreadlocks. (Burns Dep., Exh. 2, exh 8; Pltf.

Dep., Exh. 12, 52:11-53:22, exh. 9).

         75.   HMMA Team Members and other contractors’ employees at HMMA wear their

hair in dreadlocked styles. (Williams Dec., Exh. 13, ¶4).

         76.   No one has ever been accused by an HMMA employee of or disciplined for

violating a (nonexistent) ban on dreadlocks. (Burns Dep., Exh. 2, 242:15-244:15).

         77.   No one has been disciplined by or with knowledge of HMMA for wearing their

hair a certain way unless the style didn’t follow safety rules, such as having long hair not beneath

a cap in a production area. (Burns Dep., Exh. 2, 243:7-244:15).




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       B.       DSI did not have a general prohibition on dreadlocks.

       78.      DSI did not have a company-wide appearance standard prohibiting dreadlocks.

(Riddle Dep., Exh. 3, 39:18-40:4, 86:11-16).

       C.       Cassandra Williams revised and maintained appearance policies prohibiting
                dreadlocks on behalf of HEA applicable to DSI’s employees.

       79.      Williams created HEA’s (and her prior employers’) appearance policies for

security personnel in effect at HMMA, including the policy in effect during Plaintiff’s

assignment. (Williams Dep., Exh. 6, 39:17-22).

       80.      In doing this, she relied on an HMMA policy in effect when she began working at

Don Terry and Associates Security in 2004. (Id., 42:10-43:8).

       81.      That 2004-and-before policy did not contain an explicit prohibition against

dreadlocks, though Ms. Williams interpreted it as such. (Id., 43:13-44:10).

       82.      No one from HMMA reviewed Ms. Williams’ various edits to the Appearance

Standards. (Id., 44:11-45:4, 147:11-148:7).

       83.      No one ever told Ms. Williams that HMMA had an issue with Black people

wearing dreadlocks. (Id., 147:2-6).

       84.      The City of Montgomery (Ms. Williams’ former employer) prohibited dreadlocks

on its police force. (Id., 146:21-147:1).

       85.      Dreadlocks had also been prohibited by the U.S. Army until January 2017, when

the prohibition was lifted with respect to dreadlocks of uniform dimension, of no more than ½”

in           diameter,         and          presenting          a       neat       appearance.

https://www.army.mil/article/181080/turbans_beards_dreadlocks_now_permissible_for_some_s

oldiers (accessed Oct. 6, 2022).


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IV.     HMMA maintained certain safety and property security rules and performance
        expectations that would have applied to Plaintiff’s assignment at a very baseline
        level.

        A.    HMMA was not responsible for DSI’s mail room worker control, supervision,
              training (other than safety training), or pay.

        86.   Other than HMMA’s safety training and safety handbook, all of Plaintiff’s

instruction for how to her job and orientation training were provided by DSI. (Pltf. Dep., Exh.

12, 135:2-20, and ¶¶49, 53, 58, 63 above).

        87.   Plaintiff received a DSI employee handbook at her orientation. (Id., 135:18-20).

        88.   HMMA doesn’t investigate the actions of contractor’s employees or specify

disciplinary responses a contractor ought to impose; such employee management belongs to the

employing contractor itself. (Burns Dec., Exh. 1, ¶11; Burns Dep., Exh. 2, 181:15-21, 182:1-22).

        89.   HMMA did not set the wage rate for mail room workers who were DSI

employees. HMMA’s contract with HEA sets an hourly rate of pay from HMMA to HEA

intended to include “all costs to Contractor for every aspect of the Services including without

limitation, materials, labor, equipment, testing, clean-up…, insurance, fees, taxes, travel,

transportation, and import fees or duties.” (Burns Dec., Exh. 1, ¶12; Burns Dep., Exh. 2, exh. 2,

section 3 and exh. B (HMMA0000016 and 39)).

        90.   HMMA did not issue paychecks or provide any benefits (including but not limited

to leave, vacation, insurances, worker’s compensation) to mail room workers who were DSI

employees. (Burns Dec., Exh. 1, ¶14; Pltf. Dep., Exh. 12, 21:24-22:7, 27:10-21, exh. 3).

        91.   HMMA didn’t pay taxes for DSI workers or receive tax benefits from their

employment. (Burns Dec., Exh. 1, ¶15).

        92.   HMMA has never maintained any type of employee file or employee report for

Ms. Key. (Burns Dec., Exh. 1, ¶16).
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       93.      HMMA did not supervise, evaluate, or discipline DSI’s employees. (Burns Dec.,

Exh. 1, ¶17).

       94.      No HMMA manager provided ongoing hands-on instruction or day-to-day

supervision to DSI employees. (Burns Dec., Exh. 1, ¶18).

       95.      HMMA didn’t impose any sort of non-compete on any DSI employees or try to

restrict them from other jobs or opportunities. (Burns Dec., Exh. 1, ¶19).

       96.      Plaintiff never received an employee handbook from HMMA. (Pltf. Dep., Exh.

12, 47:10-16, 58:16-18).

       B.       HMMA maintained certain security and other property-related policies for all
                contractors and their employees.

       97.      HMMA provides to all contractors and their employees a safety handbook. (Burns

Dep., Exh. 2, 172:11-173:3).

       98.      Plaintiff received a safety handbook from HMMA at a safety training session it

conducted. (Pltf. Dep., Exh. 12, 29:20-25, 47:10-22).

       C.       The contract between HMMA and HEA established certain staffing and
                scheduling baselines, but these could be negotiated or modified by HEA.

       99.      HEA performed its work at HMMA under contracts or scope of service

agreements. (Williams Dep., Exh. 6, 53:16-54:1, 54:20-55:7).

       100.     In 2017, HEA was providing services to HMMA under the terms of a 2013

agreement. (Burns Dep., Exh. 2, 44:12-45:7, 46:6-11, 48:10-18).

       101.     HEA agreed to follow HMMA’s rules for business invitees pertaining to safety,

security, identification, vehicles, and parking; and to comply with employment laws, including

Title VII. (Burns Dep., Exh. 2, 86:12-90:19).




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       102.   HMMA, with HEA’s input, established standards for projected manpower in its

agreement with HEA. (Williams Dep., Exh. 6, 20:16-21; Burns Dep., Exh. 2, 107:19-113:16).

       103.   HMMA establishes the shifts for security personnel. (Williams Dep., Exh. 6,

21:15-22:5; but see Burns Dep., Exh. 2, 116:2-16).

       104.   HMMA established an initial schedule for mail room personnel (a single shift

operation), but Ms. Williams changed it on her own and informed HMMA of the change.

(Williams Dep., Exh. 6, 57:10-13, 63:13-64:9, 150:16-151:4).

       105.   HMMA also provided basic directions on mail processing and delivery. (Williams

Dep., Exh. 6, 57:10-15).

V.     HMMA had no influence on Plaintiff’s assignment or removal by DSI.

       106.   No HMMA employee ever objected to Plaintiff’s appearance or hairstyle. (Burns

Dep., Exh. 2, 247:1-6).

       107.   HMMA does not know who decided to remove Plaintiff from its property, but

HMMA was not involved in that decision whatsoever. (Burns Dep., Exh. 2, 245:4-18; Williams

Dep., Exh. 6, 146:11-13).

       108.   HMMA could not have directly requested DSI remove a DSI employee; it would

have gone through Williams (HEA’s manager) to do that. (Williams Dep., Exh. 6, 35:14-17).

       109.   If HMMA needed additional tasks from mail room workers, it would not assign

those directly, but would bring the request to HEA. (Burns Dep., Exh. 2, 285:5-21).

       110.   In Plaintiff’s opinion, the individuals responsible for discriminating against her

were Ms. Robinson, Ms. Williams, and their employers. (Pltf. Dep., Exh. 12, 62:5-17).

       111.   Plaintiff is not aware of anyone other than Ms. Robinson (DSI), Ms. Williams

(HEA), Mr. Cureton (DSI), Ms. Howell (DSI), Mr. Chambliss (DSI), or Ms. Scavella (DSI’s

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Office Manager), being involved in the termination of her assignment. (Pltf. Dep., Exh. 12, 75:1-

15, exh. 16).

        112.    Plaintiff believed they may have been carrying out an HMMA hairstyle policy,

but she has no basis to say that any such policy exists; she only saw an HEA policy and

Dynamic’s policy and she cannot dispute that HMMA’s PPE matrix allowed dreadlocks. (Pltf.

Dep., Exh. 12, 48:24-53:22, 57:1-3, 76:15-77:11, exhs. 8 and 9).

VI.     Plaintiff did not timely file a Charge against HMMA with the EEOC.

        113.    Plaintiff completed an intake questionnaire at the EEOC on August 2, 2017, one

day after her assignment ended. (Pltf. Dep., Exh. 12, exh. 13).

        114.    In the Intake Questionnaire, she twice identified Ms. Williams as “Ms. Cassandra

Williams, AMCO.” (Id.).

        115.    She indicated that Ms. Williams and Ms. Robinson and their employers were the

only individuals responsible for the conduct she complained of. (Id., 62:2-17).

        116.    As a result of that intake process, Plaintiff signed a Charge against DSI only on

August 3, 2017. (Id., exh. 14).

        117.    Plaintiff filed her Charge against HMMA in October 2018, over 14 months after

DSI ended her assignment at HMMA. (Id., 69:11-70:12, exh. 15).

        118.    Plaintiff had not specifically asked the EEOC to initiate a charge against HMMA

at that time; the investigator just told her there was an additional document she needed to sign.

(Pltf. Dep., Exh. 12, 70:16-19, 184:11-25).

        119.    Prior to that, HMMA had been unaware of Plaintiff’s EEOC Charge against DSI.

(Burns Dep., Exh. 2, 248:20-249:11).



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VII.      Miscellaneous

          120.   Plaintiff is not aware of any males or white people wearing dreadlocks at HMMA.

(Pltf. Dep., Exh. 12, 270:21-271:3).

          121.   Following Plaintiff’s separation, Ms. Williams and DSI allowed the assignment of

two other Black females with dreadlocked hairstyles to HMMA. (Williams Dep., Exh. 6, 46:17-

51:15).

          122.   Other than saying hello to the person who took her badge picture, Plaintiff never

spoke to anyone other than Ms. Robinson, Ms. Howell, Mr. Chambliss, and Ms. Williams at the

HMMA plant. (Pltf. Dep., Exh. 12, 39:18-40:4). Since Ms. Howell, Ms. Robinson, and Mr.

Chambliss were employed by DSI and Ms. Williams was employed by HEA, this means that

Plaintiff never even spoke to any HMMA employee, except the person who took her badge

picture.

          123.   Plaintiff couldn’t even name anyone employed by HMMA. (Pltf. Dep., Exh. 12,

40:31-17).

          124.   No documents support any relationship between Ms. Key and HMMA. (Exh. 14,

Plaintiff’s Second Supplemental Responses to HMMA’s Requests for Production, #8).

                                           ANALYSIS

I.        In the absence of a genuine, evidence-based dispute of material fact, summary
          judgment should be granted.

          Under Fed. R. Civ. P. 56(a), a reviewing court shall grant a motion for summary

judgment “if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to a judgment as a matter of law.” The movant “always bears the initial

responsibility of informing the district court of the basis for its motion, and identifying those

portions of ‘the pleadings, depositions, answers to interrogatories, and admissions on file,
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together with the affidavits, if any,’ which it believes demonstrates the absence of a genuine

issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (citing Fed. R. Civ. P.

56). This responsibility includes identifying those portions of the record illustrating an absence

of a genuine dispute of material fact, or, for a movant who does not bear the burden of

production of evidence at trial, to show that the nonmovant “cannot produce admissible evidence

to support” a requisite material fact. Id.; Fed. R. Civ. P. 56(c)(1)(B) and advisory committee

notes thereto. A dispute of fact is genuine only “if the evidence is such that a reasonable jury

could return a verdict for the non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986); Waddell v. Valley Forge Dental Assocs., 276 F.3d 1275, 1279 (11th Cir. 2001). “An

issue of fact is ‘genuine’ if the record as a whole could lead a reasonable trier of fact to find for

the nonmoving party. An issue is ’material’ if it might affect the outcome of the case under the

governing law.” Redwing Carriers, Inc. v. Saraland Apartments, 94 F.3d 1489, 1496 (11th Cir.

1996) (citing Anderson, 477 U.S. at 248).

       Once the movant has satisfied this burden, the nonmovant “must do more than simply

show that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmovant must support its assertion as to

the existence of a genuine dispute of material fact by citing to the record or showing that the

materials cited do not actually establish the absence of a genuine dispute of fact or that there is

no admissible evidence that supports the movant’s key factual allegations. Fed. R. Civ. P.

56(c)(1)(A) & (B). All evidence should be viewed in the light most favorable to the nonmovant,

with all inferences drawn in their favor. McCormick v. City of Fort Lauderdale, 333 F.3d 1234,

1243 (11th Cir. 2003); Anderson, 477 U.S. at 255. “[A]n inference is not reasonable if it is only a

guess or a possibility, for such an inference is not based on the evidence, but is pure conjecture

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and speculation.” Daniels v. Twin Oaks Nursing Home, 692 F.2d 1321, 1324 (11th Cir. 1983)

(internal quotation omitted); see also Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005) (per

curiam).

II.     Following a period of written discovery and party and other depositions, there is no
        evidence to support a finding of a joint employment relationship5 between Plaintiff
        and HMMA.

        HMMA previously moved pursuant to Fed. R. Civ. P. 12(b)(6) to dismiss Plaintiff’s

claims against it due to the lack of a plausible employment relationship between it and Plaintiff.

(Docs. 11 and 30). Following Plaintiff’s first amended complaint, the Court denied HMMA’s

second motion, finding that such decisions are generally determined at the summary judgment

stage and that, at the pleading stage, “Plaintiff pleads enough facts—barely—to plausibly show

that HMMA had enough control of her employment to support an employment relationship.”

(Doc. 39-1, pp. 18-19). Not only are Plaintiff’s claims now subject to Fed. R. Civ. P. 56’s burden

of propounding admissible evidence, and not just allegations, to support her claims, but the

completion of discovery has only eroded Plaintiff’s joint employer theory, not strengthened it.

        A.      Joint Employer Standard

        To be considered a joint employer, an entity must exercise sufficient control over the

terms and conditions of the plaintiff’s employment. Courts examine “(1) how much control the

alleged employer exerted on the employee, and (2) whether the alleged employer had the power

to hire, fire, or modify the terms and conditions of the employee's employment.” Peppers v.

Cobb County, 835 F.3d 1289, 1297 (11th Cir. 2016) (citing Welch v. Laney, 57 F.3d 1004, 1011

(11th Cir. 1995)). Factors that may be considered include: interrelations of operations;



5
  The Court has already found that Plaintiff had not pleaded that HMMA was an integrated employer with HEA.
(Doc. 39-1, p. 17, n. 4).

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centralized control of labor relations; common management; common ownership or financial

control; the nature and degree of control over the worker and who exercises that control; the

degree of supervision over the worker’s work and who exercises that supervision; who exercises

the power to determine the worker’s pay rate or method of payment; who has the right to hire,

fire, or modify the employment relationship; who prepares payroll and pays wages; who pays

taxes; who provides employee benefits; who invests in the equipment and facilities the worker

uses; who can profit or loss from the worker’s work; the worker’s permanence or exclusiveness;

the degree of skill the job requires; who owns the property where the worker works; whether the

alleged employer can assign the worker other work; who decides when or how long to work;

whether the worker’s work is integral to the alleged employer’s core business; whether the

contractor can hire or pay others to do the work; and whether the work to be performed by the

contractor is part of its regular business. Parker v. Esper, 2020 U.S. Dist. LEXIS 139342, *12

(N.D. Fla.) (quoting Scott v. Sarasota Doctors Hosp., Inc., 673 Fed. Appx. 878, 887 (11th Cir.

2017) (quoting 11th Cir. Pattern Jury Instr. 4.25 (2020))); Williamson v. Adventist Health

Systems/Sunbelt, Inc., 372 Fed. Appx. 936, 939 (11th Cir. 2010) (acknowledging both NLRB and

economic realities test apply), adopted at 2020 U.S. Dist. LEXIS 138445 (N.D. Fla.), aff’d at

856 Fed. Appx. 807 (11th Cir. 2021); see also Moise v. Miami-Dade Cty., 2018 U.S. Dist.

LEXIS 143667, **30-31 (S.D. Fla.) (applying a hybrid economic realities test to Title VII

claims); Williams v. Hoover City Bd. of Educ., 2019 U.S. Dist. LEXIS 84076, *15 (N.D. Ala.)

(citing Cuddeback v. Fla. Bd. of Educ., 381 F.3d 1230, 1234 (11th Cir. 2004) (finding economic

realities test was appropriate to apply to Title VII claims)). The joint employment inquiry




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focuses on the employment decision at issue. Llampallas v. Mini-Circuits, Inc., 163 F.3d 1236,

1242, 1244-45 (11th Cir. 1998).6

         B.       The vast majority of factors, and the most important factors, dictate a conclusion
                  that HMMA wasn’t Plaintiff’s employer.

         DSI and HMMA were not interrelated, did not have centralized labor relations, had no

common management, and no common ownership or financial control. HMMA supervisors

didn’t provide day-to-day management of DSI staff (Burns Dec., Exh. 1, ¶¶17-18), and Plaintiff

in fact attested that she never even met an HMMA employee other than the person who took her

photograph for a badge. (Pltf. Dep., Exh. 12, 39:18-40:4). HMMA couldn’t directly request

Plaintiff or any DSI employee to perform their job differently or take on additional tasks; any

such request had to be mediated at least through HEA and Ms. Williams. (Burns Dep., Exh. 2,

285:5-210). Plaintiff received a general orientation from DSI at its offices and received on-the-

job training by Ms. Howell, a DSI employee, at HMMA’s plant. (See, Facts, ¶¶¶¶49, 53, 58, 63).

HMMA didn’t determine her rate of pay. (Burns Dec., Exh. 1, ¶12; Burns Dep., Exh. 2, exh. 2,

section 3 and exh. B (HMMA0000016 and 39)). HMMA didn’t pay Plaintiff or any DSI

employee, and it didn’t provide Plaintiff or any DSI employee any benefits. (Burns Dec., Exh. 1,

¶14; Pltf. Dep., Exh. 12, 21:24-22:7, 27:10-21, exh. 3). It didn’t pay taxes for DSI’s employees

or receive tax benefits from their employment. (Burns Dec., Exh. 1, ¶15) Because DSI controlled

Plaintiff’s rate of pay and benefits, it was in the best position to profit—or not—from providing



6
  In Peppers, supra., the Eleventh Circuit held that in a joint employment inquiry, the focus should be on “which
entity or entities controlled the fundamental and essential aspects of the employment relationship when taken as a
whole.” 835 F.3d at 1300. Where two panel decisions are in conflict, the earlier decision controls. U.S. v. Steele, 147
F.3d 1316, 1318 (11th Cir. 1998) (en banc). So, we should indeed look to these factors with particular focus on
Plaintiff’s assignment. However, because it is undisputed that HMMA had no influence on Plaintiff’s termination of
assignment by DSI, we also analyze the record of HMMA’s purported control over DSI employees assigned to its
mail room generally. Whichever viewpoint is used, the outcome is the same: HMMA was not in an employment
relationship with Plaintiff.
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Plaintiff’s labor to HEA, and then HEA had an opportunity for profit or loss based on its

negotiations with DSI before billing HMMA. Also, that HEA had the ability to use a staffing

agency, DSI, to fulfill its contractual obligation to HMMA also speaks to HMMA’s lack of

interest in controlling these workers. HMMA had no authority to select DSI’s employees. (Burns

Dec., Exh. 1, ¶17). Nor could it fire or discipline those employees. HMMA enjoyed no authority

to evaluate DSI’s employees. (Id.). It didn’t impose any sort of non-compete on any DSI

employees or try to restrict them from other jobs or opportunities. (Burns Dec., Exh. 1, ¶19).

And, DSI was a large company with many other placements that Plaintiff could have qualified

for, over which HMMA had not even a scintilla of influence. Finally, in the mail room, Plaintiff

was not directly engaged in the line work to build HMMA’s primary product, automobiles.

       Where a single entity provides all compensation and benefits of employment, and

exclusively monitors, evaluates, and disciplines employee performance, then that weighs against

finding that any other entity is also the worker’s employer. Parker, 2020 U.S. Dist. LEXIS

139342 at **17-18 (citing In re Enterprise Rent-A-Car Wage & Hour Empl. Practices Litig., 683

F.3d 462, 471 (3rd Cir. 2012) and Foy v. Pat Donalson Agency, 946 F.Supp.2d 1250, 1267, 1268

(N.D. Ala. 2013)). This is especially true where the second entity has no authority to hire or fire

the first entity’s workers. Id. at *18 (citing Jerome v. Hertz Corp., 15 F.Supp.3d 1225, 1237

(M.D. Fla. 2014)); see also Hall v. Arkema, Inc., 2020 U.S. Dist. LEXIS 241488, **9-11 (S.D.

Tex.). It is even more true when the second entity actually took no action with respect to the

contested employment decision. Llampallas, 163 F.3d 1236, 1242, 1244-45.




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        C.       That HMMA initially scheduled mail room hours and manpower, provided the
                 physical space and equipment for the work and the associated safety training to
                 prevent injury in that space, and could indirectly request DSI workers perform
                 additional duties does not dictate a different outcome.

        In denying HMMA’s motion to dismiss, the Court relied on the following factors in

determining that Plaintiff had “barely” cleared Rule 12’s lenient pleading standard: HMMA’s

ownership of the site, HMMA’s provision of its safety manual, Ms. Williams’ apparent use of

HMMA’s email system, a multiple-hearsay statement that unidentified Koreans wrote memos

that they didn’t like certain hairstyles, and the fact that HMMA’s name was somewhere on

Plaintiff’s paycheck. (Doc. 39-1, pp. 19-20). These factors entitled Plaintiff to further discovery

on the joint employment issue, but that discovery has turned up no meaningful support that an

employment relationship existed between HMMA and Plaintiff. So, following discovery,7

Plaintiff is left with HMMA’s ownership of the physical plant and equipment, reasonable safety

rules and orientation to that plant and equipment, initial projections for manpower and

scheduling (though Ms. Williams changed these unilaterally without prior approval or pushback

by HMMA), Ms. Williams’ use of HMMA’s email system, and DSI’s unilateral decision to write

“HMMA” as the customer ID on Plaintiff’s paycheck. Presumably Plaintiff will also contend that

HMMA could have theoretically requested the removal of a DSI employee, though there’s no

evidence that’s ever actually occurred, and it is undisputed that such a request would have been

mediated through HEA as well as DSI. Moreover, it’s undisputed that no one from HMMA ever

requested Plaintiff’s particular removal. This simply isn’t enough to establish that HMMA was

the joint employer of Plaintiff specifically or DSI’s mail room workers generally.




7
 The general rule is that inadmissible hearsay cannot be considered on a motion for summary judgment. Macuba v.
Deboer, 193 F.3d 1316, 1322 (11th Cir. 1999).
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       First, the customer’s provision of a physical workspace is a constant in nearly all disputed

joint-employment cases, and is thus a weak and non-determinative factor. See Shaffer v. Wexford

Health Sources, Inc., 2018 U.S. Dist. LEXIS 115983, *12 (W.D. Penn.) (“an entity’s control

over its own premises does not, by itself, translate into control over the employees that happen to

work on the premises.”). Issuing safety standards for visitors and contractors in the safe

operation of that site is another weak factor. Quintanilla v. A&R Demolition, Inc., 2005 U.S.

Dist. LEXIS 34033, **26-27, 33-35 (S.D. Tex.) (general contractor’s safety oversight of

subcontractor did not create joint employment relationship); Banks v. St. Francis Health Ctr.,

Inc., 2016 U.S. Dist. LEXIS 161229, **54 (D. Kan.) (“Supervision that is limited and focuses on

workplace safety issues typically will not be considered the type of supervision indicating joint

employers.”); E.E.O.C. v. Skanska USA Bldg., Inc., 2011 U.S. Dist. LEXIS 172222, *10 (W.D.

Tenn.) (general contractor may implement policies to ensure the safety of a job site without

becoming a joint employer); Sims v. EQT Corp., 2014 U.S. Dist. LEXIS 122894, **13-14 (W.D.

Penn.) (maintaining safety standards for job site didn’t make property owner a joint employer).

HMMA’s potential authority to request that DSI employees perform additional duties is not the

type of control to render it Plaintiff’s employer. Similar exercises or reservations of such rights

have not been found adequate to establish a joint employment relationship. Parker, 2020 U.S.

Dist. LEXIS 139342, *17 (citing Diaz v. U.S. Century Bank, 2013 U.S. Dist. LEXIS 68399 (S.D.

Fla.) (“infrequent assertions of minimal oversight do not constitute the requisite degree of

supervision”) (quoting Martinez-Mendoza v. Champion Int'l Corp., 340 F.3d 1200, 1211 (11th

Cir. 2003))). Nor could HMMA’s theoretical ability to pressure HEA or DSI into discontinuing

Plaintiff’s assignment render it her employer. Morrison v. Magic Carpet Aviation, 383 F.3d

1253, 1255 (11th Cir. 2004); Gremillion v. Cox Communs. La., 2017 U.S. Dist. LEXIS 50941,

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**15-16 (E.D. La.) (the customer’s ability to deauthorize a contractor’s employees from working

on the customer’s project was not tantamount to the authority to terminate, even where the

contractor had no other customers in the state); Parks v. Lyash, 2022 U.S. Dist. LEXIS 165892,

n. 3 (E.D. Tenn.). Ms. Williams’ HMMA email address was a matter of convenience, and not an

exercise of control. See Layton v. PERCEPTA, LLC, 2018 U.S. Dist. LEXIS 108268, **10-11

(M.D. Fla.) (finding use of Ford’s domain name and logo on worker’s email account, among

other factors, wasn’t adequate to render Ford the worker’s joint employer at the motion to

dismiss stage), adopted and confirmed, 2018 U.S. Dist. LEXIS 107126; Roper v. Verizon

Communs., Inc., 2020 U.S. Dist. LEXIS 227766, n. 18 (“‘Courts have found that common

marketing image, common branding, common email domain, and joint use of trademark logs,

fail to render entities’ joint employers ‘if they maintain completely separate day-to-day

activities.’”) (quoting Horowitz v. AT&T, Inc., 2018 U.S. Dist. LEXIS 69161, *40 (D.N.J.)).

Finally, DSI could have written “Disney World” on Plaintiff’s paychecks, and it wouldn’t have

changed the fact that DSI issued those paychecks, nor would it have made Disney World

Plaintiff’s employer. DSI’s unilateral categorizations can’t create a genuine issue of material fact

as to what HMMA actually did, or didn’t, do. See Hall, supra., at **12-13 (where there was no

evidence that alleged joint employer actually controlled pay or benefits, that undermined the

contention that a joint employment relationship existed) (citing Boutin v. Exxon Mobil Corp.,

730 F.Supp.2d 660, 681 (S.D. Tex. 2010) (where alleged joint employer’s supervisor reviewed

and approved time sheets, this was not evidence of joint employment because direct employer

actually kept records and maintained sole responsibility for paying the worker)); (See also Pltf.

Dep., Exh. 12, 79:17-23) (Plaintiff doesn’t know the significance of “HMMA” being listed as

Customer ID on her DSI paycheck).

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         Further, as the Eleventh Circuit held in Morrison, that HMMA secured the provision of

certain conditions (such as uniforms, or laborers to work a particular schedule) by contract with a

service provider does not establish that the service provider’s employees are the employees of

HMMA. 383 F.3d 1253, 1256 (“Consequently, there is no evidence that [customer] had direct

control over [plaintiff], rather than the indirect control over a service provider’s employees that a

customer may obtain by contracting with that service provider. Such indirect control does not

amount to an employment relationship because the customer is in privity of contract with the

service provider…and not the service provider’s employees.”). And, in this case, HMMA (the

customer) had any alleged control further diluted by the additional arms-length contractual

relationship between HEA and DSI, with whom HMMA had no contract or particular authority

whatsoever.

III.     Not only is there no evidence that HMMA took any employment action with respect
         to Plaintiff, there is a consequential absence of evidence that HMMA was motivated
         by race in any respect.

         Because no HMMA employee played any role in Plaintiff’s assignment by DSI to fulfill

its contract with HEA to provide security and mailroom services at HMMA, it is difficult to

envision how, exactly, Plaintiff even states a prima facie case. There’s no evidence of any

HMMA decision or request to remove Plaintiff, and therefore there’s no HMMA decisionmaker

who could harbor any animus against Plaintiff on any basis.

         Since no HMMA employee made any particular decision or request with respect to

Plaintiff, it seems her only conceivable route forward is to argue that HMMA (i) required the no-

dreadlocks policy maintained by HEA and authored by Ms. Williams, and (ii) that HMMA

intended this policy to be enforced on a discriminatory basis. There is no evidence that either

proposition is true.

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           First, HMMA allows its employees to wear dreadlocks. It doesn’t give its contractors

instructions to allow or disallow dreadlocks, allowing them to set appropriate appearance

standards. Ms. Williams unequivocally stated that she authored the Appearance Policy and has

maintained it. HMMA hasn’t reviewed or revised it. A ban against dreadlocks is legally

appropriate as long as it’s enforced fairly. EEOC v. Catastrophe Mgmt., 852 F.3d 1018, 1029-30

(11th Cir. 2016), reh’g en banc denied, 876 F.3d 1273 (11th Cir. 2017).

           To that end, no one has identified any instance of this policy being enforced in a

discriminatory manner.8 Two people, both Black females like Plaintiff, have been identified as

being permitted by DSI to wear dreadlocks. That doesn’t lend any support to Plaintiff’s race

discrimination claim at all. Thus, Plaintiff’s race discrimination claims against HMMA must be

dismissed.

IV.        Plaintiff has failed to establish that any employee of HMMA knew of her pregnancy
           or any protected activity on her part.

           Plaintiff’s retaliation claims should fail generally because there is no evidence that

HMMA took or requested any adverse action against Plaintiff. Further, it is well established that

a defendant’s decisionmaker must have actual knowledge of protected conduct for a retaliation

claim to stand. Mohammed v. GHX Glob. Healthcare Exch. Inc., 2022 U.S. App. LEXIS 13847,

**5-6 (11th Cir.). Plaintiff made no complaint to HMMA, and no HMMA employee was aware

of Plaintiff’s internal complaints to DSI or her questions to Ms. Williams about HEA’s

Appearance Policy at the time DSI discontinued her assignment. It would be absurd to allow

Plaintiff’s retaliation claim to proceed against an entity that didn’t receive any complaint, know

of any complaint, or take any action after a complaint.


8
    Again, the hearsay about “Koreans” and “little memos” has not been shown to be credible or admissible.

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        Similarly, a pregnancy claim cannot survive where a defendant is unaware of the

pregnancy, and Plaintiff has identified no employee of HMMA whom she told or whom she

contends is otherwise aware of her pregnancy. Freeman v. Wal-Mart Stores East, L.P., 2009 U.S.

Dist. LEXIS 150133, *9 (N.D. Ala.).

V.      Additionally, Plaintiff did not exhaust her Title VII claims against HMMA.

        On August 2, 2017, Plaintiff went to the EEOC. She completed an intake questionnaire,

where she identified Ms. Robinson and “Ms. Cassandra Williams, AMCO,” as responsible for all

discriminatory events she experienced. (Pltf. Dep., Exh. 12, exh. 13 at Key00050). On August 3,

2017, Plaintiff signed a Charge, listing as the Respondent “Dynamic Security Incorporated.” (Id.,

exh. 14). There is a place for additional respondents to be added, but this is not filled out. The

Charge states that Plaintiff was assigned to the “Hyundai Plant,” but it does not identify any

actions taken by HMMA other than providing safety training. (Id.). It names Ms. Robinson, Ms.

Williams, Ms. Howell, Mr. Chambliss, Mr. Cureton, and Ms. Scavella, but not any HMMA

employees.9 (Id.). Plaintiff never filed a Charge against HEA. (Id., 61:22-62:1). On October 16,

2018, Plaintiff signed a Charge against HMMA because her newly-assigned investigator, Alicia

Martin-Schutz, told her there were documents she needed to sign. (Id., 70:6-71:17, 184:11-18,

exh. 15). Prior to this, HMMA had no knowledge of Plaintiff’s Charge against DSI. (Burns Dep.,

Exh. 2, 248:20-249:11).




9
  The Charge didn’t identify the employers of these individuals, though the intake questionnaire had done so.
Importantly, at the time the DSI Charge was perfected and up through October 2018, fourteen months after DSI
ended her assignment, there was no allegation of wrongdoing by any HMMA employee, no allegation that any
HMMA policy was to blame in Plaintiff’s assignment ending, and no allegation of joint employment between
HMMA and DSI and/or HEA.

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        While courts are hesitant to penalize a plaintiff for the EEOC’s alleged mis-handling10 of

a claim, when a party goes unnamed, a Court is to consider if the charge can be said to have

encompassed the unnamed party and put it on notice by considering the following:

                 (1) the similarity of interest between the named party and the
                 unnamed party; (2) whether the plaintiff could have ascertained the
                 identity of the unnamed party at the time the EEOC charge was
                 filed; (3) whether the unnamed parties received adequate notice of
                 the charges; (4) whether the unnamed parties had an adequate
                 opportunity to participate in the reconciliation process; and (5)
                 whether the unnamed party actually was prejudiced by its
                 exclusion from the EEOC proceedings.

Virgo v. Riviera Beach Assocs. Ltd., 30 F.3d 1350, 1358 (11th Cir. 1994).

        Similarity of interest is determined by looking at commonality of ownership, operations,

control or finances, and there is none between HMMA and DSI. See Tuck v. Off Shore Inland

Marine & Oilfield Co., 2013 U.S. Dist. LEXIS 1764, **7-8 (S.D. Ala.) (finding that even a

contractual relationship on the same project—which was not present as between HMMA and

DSI—was insufficient to establish similarity of interest). As to the second factor, it is obvious

that Plaintiff, who had already attained a Master’s Degree at this time, could easily identify

HMMA, and notice its absence on the Charge she signed. As to the third factor, HMMA

contends its notice was inadequate, as having occurred over a year after the events complained

of. As to the fourth factor, HMMA concedes that after Ms. Martin-Schutz railroaded the late

Charge and cause finding against it through its processes, it received the minimum conciliation

maneuvering that Mach Mining requires of the EEOC. As to the fifth element, HMMA was

prejudiced by the lost opportunity to timely investigate Plaintiff’s claims.




10
   Though it’s not at all clear that the initial investigator’s decision not to name HMMA as a Respondent was an
error.
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       Additionally, in the absence of evidence of an employment relationship between HMMA

and Plaintiff, an adverse action taken by HMMA, or an effective administrative exhaustion of

Plaintiff’s claims against HMMA, Plaintiff’s claims should be dismissed not only because her

only timely Charge named only DSI as a Respondent, but also because she failed to timely

contend to the EEOC that HMMA had done anything wrong. See Cannon v. Canteen Servs. of N.

Mich, 657 Fed. Appx. 438, 441 (6th Cir. 2016) (hostile work environment claim was not

exhausted against alleged joint employer where plaintiff hadn’t alleged to the EEOC that that

employer had caused a hostile environment).

                                        CONCLUSION

       At the summary judgment stage, a party must have admissible evidence to support its

claims. In this case, there is absolutely no evidence that HMMA had any control of the

fundamental aspects of the employment relationship generally or the specific events giving rise

to Plaintiff’s claim. HMMA provided no compensation to Plaintiff, no benefits, and no job-

specific training. It maintained no record of her as an employee. It didn’t dictate, draft, or even

review the appearance policy that resulted in Plaintiff’s end of assignment. It didn’t employ any

of the decisionmakers in that separation of assignment. Rather than exercising control or

supervision over Plaintiff, the simple truth is that HMMA didn’t know when she was there and it

didn’t know when (or why) she was gone, until 14 months later when it received an untimely

EEOC Charge. Accordingly, HMMA respectfully requests that it be dismissed from this action,

with prejudice.




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                                                     Respectfully Submitted,


                                                     s/ Whitney R. Brown
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
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